          Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 1 of 7




      In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

*********************
ROBERT STERN,                         *     No. 20-1270V
                                      *     Special Master Christian J. Moran
                  Petitioner,         *
                                      *     Filed: June 27, 2022
v.                                    *
                                      *     Stipulation; influenza (“flu”) vaccine;
SECRETARY OF HEALTH                   *     lumbosacral radiculoplexus
AND HUMAN SERVICES,                   *     neuropathy; brachial plexopathy;
                                      *     peripheral nerve microvessel
                  Respondent.         *     inflammation.
*********************
Milton Clay Ragsdale, Ragsdale LLC, Birmingham, AL, for petitioner;
Bridget Corridon, United States Dep’t of Justice, Washington, DC, for Respondent.

                          UNPUBLISHED DECISION 1

       On June 27, 2022, the parties filed a joint stipulation concerning the petition
for compensation filed by Robert Stern on September 25, 2020. Petitioner alleged
that the influenza (“flu”) vaccine he received on October 29, 2018, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
him to suffer lumbosacral radiculoplexus neuropathy and brachial plexopathy
associated with peripheral nerve microvessel inflammation. Petitioner further
alleges that he suffered the residual effects of this injury for more than six months.
Petitioner represents that there has been no prior award or settlement of a civil
action for damages on his behalf as a result of his condition.


      1
        The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services), requires that the
Court post this decision on its website. Pursuant to Vaccine Rule 18(b), the parties
have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by
the special master will appear in the document posted on the website.
          Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 2 of 7




      Respondent denies that the vaccines caused petitioner to suffer from
lumbosacral radiculoplexus neuropathy, brachial plexopathy associated with
peripheral nerve microvessel inflammation, any other injury, or his current
condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

      Damages awarded in that stipulation include:

       A lump sum payment of $125,000.00 in the form of a check payable to
petitioner. This amount represents compensation for all damages that would
be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2

      IT IS SO ORDERED.

                                       s/Christian J. Moran
                                       Christian J. Moran
                                       Special Master




      2
       Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment
by each party filing a notice renouncing the right to seek review by a United States
Court of Federal Claims judge.
                                          2
Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 3 of 7
Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 4 of 7
Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 5 of 7
Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 6 of 7
Case 1:20-vv-01270-UNJ Document 59 Filed 07/19/22 Page 7 of 7
